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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                          Criminal No. 22-178 (SRN/DTS)
______________________________________

United States of America,

       Plaintiff,
                                                       DEFENDANT DEVEON MARQUISE
v.                                                     BRANCH’S MOTION FOR
                                                       GOVERNMENT AGENTS TO
Deveon Marquise Branch,                                RETAIN ROUGH NOTES

      Defendant.
______________________________________

       The above-named Defendant, Deveon Marquise Branch, by and through his attorney,

Glenn P. Bruder, and pursuant to 18 USC § 3500 and Brady v Maryland, 375 US 83 (1963),

moves the court for an order requiring any law enforcement agent, including any confidential

reliable informants, to retain and preserve all rough notes taken as a part of their investigation,

whether or not the contents of such rough notes are incorporated in official records, on the

following grounds:

       1.       Rough notes are considered statements within the meaning of Title 18, United

States Code, Section 3500(e)(1); United States v Bernard, 607 F.2d 1257 (9th Cir.) 1979);

United States v Gaston, 608 F.2d 1257 (9th Cir. 1979); United States v Gaston, 608 F.2d 607

(5th Cir. 1979);

       2.       Destruction of rough notes by law enforcement official usurps the judicial

function of determining what evidence must be produced. United States v Harris, 543 F.2d 1247

(9th Cir. 1976);




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        3.       The rough notes may contain facts favorable to the defense.

        This motion is based on the indictment, the records and proceedings herein, such

testimony as may be presented at the motion, and any briefing which the court may require

thereafter.

Dated: September 28, 2022

Respectfully submitted,

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